                                  No. 23-12155

             In the United States Court of Appeals
                    for the Eleventh Circuit
 AUGUST DEKKER, BRIT ROTHSTEIN, SUSAN DOE, by and through her parents and
next friends, JANE DOE and JOHN DOE, and K.F., by and through his parent and next
                              friend, JADE LADUE,

                                             Plaintiffs-Appellees,
                                        v.
    SECRETARY, FLORIDA AGENCY FOR HEALTH CARE ADMINISTRATION, et al.,

                                             Defendants-Appellants.

   On Appeal from the U.S. District Court for the Northern District of Florida,
       No. 4:22-cv-00325, Honorable Robert L. Hinkle, District Judge

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    Certificate of Interested Persons and Corporate Disclosure Statement

      Per Rule 26.1 and Circuit Rule 26.1, Plaintiffs-Appellees certify that the

certificates in their response brief and first supplemental brief are complete.

      Dated: July 11, 2025

                                               /s/ Omar Gonzalez-Pagan
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                                         C-1
                                                Table of Contents

Certificate of Interested Persons and Corporate Disclosure Statement .................C-1
Table of Contents ....................................................................................................... i
Table of Authorities .................................................................................................. ii
1.       What impact, if any, does United States v. Skrmetti, 145 S. Ct. 1816
         (2025), have on the Equal Protection Clause analysis in this case? ................1
         A.        The Exclusions expressly and purposely discriminate based on
                   transgender status and therefore sex......................................................2
         B.        Even if the Court finds the Exclusions do not facially
                   discriminate based on transgender status or sex, the Exclusions’
                   “medical use” classification is a pretext for discrimination
                   against transgender people. ...................................................................4
         C.        The Exclusions invidiously discriminate against transgender
                   people. ...................................................................................................4
         D.        Skrmetti’s reasoning does not apply to Plaintiffs’ Section 1557
                   claim. .....................................................................................................5
2.       What impact, if any, does Medina v. Planned Parenthood South
         Atlantic, No. 23-1275, 2025 WL 1758505 (Jun. 26, 2025), have on
         whether the provisions of the Medicaid Act at issue in this case confer
         individual rights enforceable under 42 U.S.C. § 1983? ..................................6
         A.        Defendants abandoned any argument regarding the
                   enforceability of the Medicaid Act provisions at issue in this
                   case, and none of the exceptions that would permit
                   consideration of the argument apply. ....................................................6
Conclusion ...............................................................................................................10
Certificate of Compliance ........................................................................................12
Certificate of Service ...............................................................................................13




                                                               i
                                            Table of Authorities

                                                                                                           Page(s)
CASES
Access Now, Inc. v. Sw. Airlines Co.,
   385 F.3d 1324 (11th Cir. 2004) ..............................................................7, 8, 9, 10
Angela R. v. Clinton,
  999 F.2d 320 (8th Cir. 1993) ................................................................................ 7

Arlington Heights v. Metropolitan Housing Development Corp.,
   429 U.S. 252 (1977) .............................................................................................. 2

In re Biscayne Park, Lmtd. Liab. Corp.,
    540 Fed. Appx. 952 (11th Cir. 2013).................................................................. 10
Bostock v. Clayton Cnty.,
  590 U.S. 644 (2020) .......................................................................................... 1, 3

Burch v. P.J. Cheese, Inc.,
  861 F.3d 1338 (11th Cir. 2017) ........................................................................ 8, 9
United States v. Campbell,
  26 F.4th 860 (11th Cir. 2022) .....................................................................7, 8, 10

Craig v. Boren,
  429 U.S. 190 (1976) .............................................................................................. 4
In re Daikin Miami Overseas, Inc.,
    868 F.2d 1201 (11th Cir. 1989) ............................................................................ 9

Davis v. Shah,
  821 F.3d 231 (2d Cir. 2016) ................................................................................. 9

Washington v. Davis,
  426 U.S. 229 (1976) .............................................................................................. 4

Dean Witter Reynolds, Inc. v. Fernandez,
  741 F.2d 355 (11th Cir. 1984) ............................................................................ 10

S.D. ex rel. Dickson v. Hood,
   391 F.3d 581 (5th Cir. 2004) ................................................................................ 9


                                                          ii
Doe v. Horne,
  115 F.4th 1083 (9th Cir. 2024) ............................................................................. 4
United States v. Durham,
  795 F.3d 1329 (11th Cir. 2015) ............................................................................ 7

Eknes-Tucker v. Governor of Alabama,
  80 F.4th 1205 (11th Cir. 2023) ............................................................................. 4

Emeldi v. Univ. of Oregon,
  698 F.3d 715 (9th Cir. 2012) ................................................................................ 6

Equal Emp. Opportunity Comm'n v. R.G. &. G.R. Harris Funeral Homes, Inc.,
  884 F.3d 560 (6th Cir. 2018), aff’d sub nom. Bostock v. Clayton Cnty., 590
  U.S. 644 (2020) ..................................................................................................... 3
United States v. Garcia-Velazquez,
  No. 22-10456, 2022 WL 2784601 (11th Cir. July 15, 2022) ........................... 7, 8

Geduldig. Newport News Shipbuilding & Dry Dock Co. v. E.E.O.C.,
  462 U.S. 669 (1983) .............................................................................................. 5
Geduldig v. Aiello,
  417 U.S. 484 (1974) .......................................................................................... 1, 5

General Elec. Co. v. Gilbert,
  429 U.S. 125 (1976) .............................................................................................. 5

Glenn v. Brumby,
   663 F.3d 1312 (11th Cir. 2011) ............................................................................ 3

Gonzaga v. Doe,
  536 U.S. 273 (2002) .............................................................................................. 9

Hamilton v. Southland Christian School, Inc.,
  680 F.3d 1316, overruled on other grounds, 795 F.3d. 1329 (11th Cir. 2015).. 10

Health and Hospital Corp. of Marion County v. Talevski,
  599 U.S. 166 (2023) .......................................................................................... 8, 9

Karnoski v. Trump,
  926 F.3d 1180 (9th Cir. 2019) .......................................................................... 2, 3



                                                           iii
Kellner v. NCL (Bahamas), Ltd.,
   753 Fed. Appx. 662 (11th Cir. 2018).................................................................. 10
United States v. Levy,
  379 F.3d 1241 (11th Cir. 2004) ............................................................................ 7

Lipsett v. Univ. of P.R.,
   864 F.2d 881 (1st Cir. 1988) ................................................................................. 6

Mayweathers v. Newland,
  314 F.3d 1062 (9th Cir. 2002) .............................................................................. 5

Medina v. Planned Parenthood South Atlantic,
  No. 23-1275, 2025 WL 1758505 (Jun. 26, 2025)................................................. 9

Miller v. Whitburn,
   10 F.3d 1315 (7th Cir. 1993) ................................................................................ 9
Pediatric Specialty Care, Inc. v. Ark. Dep’t of Human Servs.,
  293 F.3d 472 (8th Cir. 2002) ................................................................................ 9

Pers. Adm’r of Massachusetts v. Feeney,
   442 U.S. 256 (1979) .............................................................................................. 2
Rodriguez v. DeBuono,
  174 F.3d 227 (2d Cir. 1999) ................................................................................. 7
Schmitt v. Kaiser Found. Health Plan of Wash.,
   965 F.3d 945 (9th Cir. 2020) ............................................................................ 5, 6

United States v. Skrmetti,
  145 S. Ct. 1816 (2025) ................................................................1, 2, 3, 4, 5, 6, 10
Van Wyhe v. Reisch,
  581 F.3d 639 (8th Cir. 2009) ................................................................................ 5
Waskul v. Washtenaw Co. Cmty. Mental Health,
  979 F.3d 426 (6th Cir. 2020) ................................................................................ 9

Wood v. Milyard,
  566 U.S. 463 (2012) .......................................................................................... 7, 8




                                                          iv
CONSTITUTIONAL PROVISIONS
United States Constitution
  Fourteenth Amendment ..............................................................................2, 5, 10
STATUTES AND CODES
United States Code
  Title 42, section 300gg-3(b)(1) ............................................................................. 6
  Title 42, section 300gg-4 ...................................................................................... 6
  Title 42, section 1396a(a)(10)(A) ......................................................................... 9
  Title 42, section 1396a(a)(10)(B) ......................................................................... 9
  Title 42, section 1396a(a)(23)............................................................................... 9
  Title 42, section 1396a(a)(43)(C) ......................................................................... 9
  Title 42, section 1396d(a)(4)(B) ........................................................................... 9
  Title 42, section 1396d(r)(5) ................................................................................. 9
  Title 42, section 1396r-8 ....................................................................................... 8
  Title 42, section 2000e(k) ..................................................................................... 5
  Title 42, section 18022(4) ..................................................................................... 6
  Title 42, section 18116(a) ..................................................................................... 6
Affordable Care Act
   Section 1557........................................................................................1, 2, 5, 6, 10

Florida Administrative Code
   Section 59G-1.050(7)(a) ....................................................................................... 4
   Section 59G-1.050(7)(a)(3) .................................................................................. 3
Medicaid Act
  Section 1983..............................................................................................6, 7, 8, 9

Tennessee Annotated Code
  Section 68-33-101(n)(2) ....................................................................................... 3
RULES AND REGULATIONS
Federal Register
   Vol. 83, page 30,903 ............................................................................................. 5
   Vol. 83, page 35,959 ............................................................................................. 5
   Vol. 83, pages 35,962-63 ...................................................................................... 5

Federal Rules of Civil Procedure
   Rule 12(b)(6)......................................................................................................... 6

                                                            v
OTHER AUTHORITIES
Florida Senate Bill 254
   Section 3................................................................................................................ 3
H.R. Rep. 95-948, 1978 U.S.C.C.A.N. 4749 ............................................................. 5

H.R. Rep. No. 92–554 (1972) .................................................................................... 6




                                                             vi
      On June 30, 2025, the Court directed the parties to file supplemental briefs on
two questions. Accordingly, Plaintiffs-Appellees submit this supplemental brief and
answer the questions as follows:
   1. What impact, if any, does United States v. Skrmetti, 145 S. Ct. 1816 (2025),
      have on the Equal Protection Clause analysis in this case?
       In Skrmetti, the Supreme Court upheld a decision to reverse a preliminary
injunction against Tennessee’s ban on gender-affirming medical care for minors. In
doing so, the Court relied on Geduldig v. Aiello, 417 U.S. 484 (1974), to hold that
Tennessee’s ban “does not exclude any individual from medical treatments on the
basis of transgender status but rather removes one set of diagnoses—gender
dysphoria, gender identity disorder, and gender incongruence—from the range of
treatable conditions.” Skrmetti, 145 S. Ct. at 1833. The Court found that Tennessee’s
law, “[o]n its face,” classified based on age and medical condition. Id. at 1829.
     Skrmetti, however, is fairly limited in its scope and breadth. It turned on the
arguments, facts, and context of that case. It is therefore important to note what
Skrmetti did not do:
      1.      In Skrmetti, the Supreme Court did not back away from the holding in
Bostock that “discrimination based on … transgender status necessarily entails
discrimination based on sex.” Bostock v. Clayton Cnty., 590 U.S. 644, 669 (2020). To
the contrary, it reaffirmed it. See Skrmetti, 145 S. Ct. at 1834. It is therefore consistent
with Plaintiffs’ arguments in this case both under the equal protection clause and
Section 1557 of the Affordable Care Act. Plaintiffs’ Br. 25–26.
      2.     Skrmetti did not reject Plaintiffs’ arguments here that Bostock’s
reasoning applies in the equal protection context. See Skrmetti, 145 S. Ct. at 1834
(“We have not yet considered whether Bostock’s reasoning reaches beyond the Title
VII context, and we need not do so here.”); Plaintiffs’ Br. 23–26.
       3.     Skrmetti did not reject Plaintiffs’ arguments that classifications based
on transgender status are subject to heightened scrutiny, as Plaintiffs have argued
here. See 145 S. Ct. at 1832 (“This Court has not previously held that transgender
individuals are a suspect or quasi-suspect class. And this case, in any event, does not
raise that question[.]”); Plaintiffs’ Br. 29–32.
      4.     While Skrmetti, relying on Geduldig v. Aiello, 417 U.S. 484 (1974), held
that policies that classify based on gender dysphoria do not necessarily classify
based on sex or transgender status, it expressly acknowledged that “only transgender
individuals seek treatment for gender dysphoria” and reaffirmed that a regulation is
subject to heightened scrutiny if it is a “mere pretext for invidious sex [and
transgender status] discrimination.” 145 S. Ct. at 1833. What is more, Skrmetti noted


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that the plaintiffs there “ha[d] not argued that [the law]’s prohibitions are mere
pretexts designed to effect an invidious discrimination against transgender
individuals.” Id.
       Indeed, Skrmetti did not reject the notion that laws that target people who
experience gender dysphoria classify based on transgender status and therefore
should receive heightened scrutiny. See 145 S. Ct. at 1834 n.3 (distinguishing
Tennessee’s law from one that “regulates a class of persons identified on the basis
of a specified characteristic”).
       5.     Finally, Skrmetti reaffirmed that “where a law’s classifications are
neither covertly nor overtly based on sex,” it is still subject to “heightened review”
if “it was motivated by an invidious discriminatory purpose.” 145 S. Ct. at 1832
(citing Pers. Adm’r of Massachusetts v. Feeney, 442 U.S. 256, 271–274 (1979), and
Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S. 252, 264–
266 (1977)). The Court noted that “[n]o such argument ha[d] been raised [t]here.”
Id. By contrast, as noted in Plaintiffs’ briefs and explained herein, such argument
has been presented in this case. Plaintiffs’ Br. 31–37; Plaintiffs’ Supplemental Br.
      Considering the above, Plaintiffs explain how the Exclusions1 discriminate
based on transgender status and therefore sex in violation of the Fourteenth
Amendment. In addition, Plaintiffs explain how Skrmetti does not control—and does
not undercut—Plaintiffs’ sex discrimination claim under Section 1557.
    A. The Exclusions expressly and purposely discriminate based on
       transgender status and therefore sex.
       Here, the Exclusions explicitly discriminate based on transgender status. For
example, the Rule was adopted through what was deemed the “Transgender Health
Care Non-Legislative Pathway,” Doc. 182-35, and SB254 was adopted through the
“Transgender Health Care Policy Pathway,” Doc. 182-36 (emphases added). These
are not incidental references to sex because “medical treatments and procedures are
uniquely bound up in sex.” Skrmetti, 145 S. Ct. at 1829. Rather, these are explicit
references to transgender people showing that the Exclusions seek to “regulate[] a
class of persons identified on the basis of a specified characteristic.” Id. at 1834 n.3.
       The reasoning in Karnoski v. Trump, 926 F.3d 1180, 1201 (9th Cir. 2019), is
most instructive here. There, the Court found “unpersuasive” the government’s
argument that its exclusionary military policy was based on “gender dysphoria” and
not transgender status because “[o]n its face, the 2018 Policy regulates on the basis
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        Plaintiffs adopt the terminology and defined terms from their response brief
and incorporate the arguments set forth in the response and first supplemental briefs
as if fully set forth herein.

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of transgender status” and therefore “on its face treats transgender persons
differently than other persons.” Id. at 1201 (emphasis added) (noting references to
“transgender persons” in the policy). The same is true here.2
       What’s more, SB254 does not reference any medical condition, rather it
prohibits Medicaid coverage for “sex-reassignment prescriptions or procedures.”
SB254 §3. The Rule similarly refers to “sex reassignment.” FAC 59G-
1.050(7)(a)(3). Again, these references are not incidental, nor are they necessary to
describe a medical condition or service. Rather they evince the express classification
at play: transgender people. By targeting “sex reassignment,” the Exclusions
necessarily classify based on transgender status as only transgender people undergo
“sex reassignment.” See Plaintiffs’ Br. 24; see also Equal Emp. Opportunity Comm'n
v. R.G. &. G.R. Harris Funeral Homes, Inc., 884 F.3d 560, 577 (6th Cir. 2018)
(“Title VII protects transgender persons because of their transgender or transitioning
status, because transgender or transitioning status constitutes an inherently gender
non-conforming trait.”), aff’d sub nom. Bostock v. Clayton Cnty., 590 U.S. 644
(2020); cf. Glenn v. Brumby, 663 F.3d 1312, 1316 (11th Cir. 2011) (“A person is
defined as transgender precisely because of the perception that his or her behavior
transgresses gender stereotypes.”). We do not “distinguish between status and
conduct” in this context. Plaintiffs’ Br. 40 (citation omitted).
      Skrmetti reaffirmed Bostock’s holding that “discrimination based on …
transgender status necessarily entails discrimination based on sex.” Bostock, 590 U.S.
at 669; see also Skrmetti, 145 S. Ct. at 1834; Plaintiffs’ Br. 25–26.3 The Exclusions
unconstitutionally discriminate based on transgender status and therefore sex.
       Critically, Skrmetti’s analysis hinges on the Court’s finding that Tennessee’s
law classified based on age and medical condition. 145 S.Ct. at 1829. That is not the
case here, where the Exclusions irrationally target transgender people of all ages; it
prohibits coverage of gender-affirming medical care for Medicaid beneficiaries
regardless of age. Additionally, Tennessee’s law discriminated based on medical
condition by prohibiting the medications and procedures at issue only when provided
“for the purpose of … [t]reating purported discomfort or distress from a discordance
between the minor’s sex and asserted identity.” Tenn. Code Ann. § 68-33-101(n)(2)
(emphasis added). Here, the Exclusions target gender transition and therefore
transgender people. Simply put, the Exclusions operate differently than the law in


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      The GAPMS Report similarly makes repeated references to transgender
people, including multiple references to “transgender lifestyles.” Doc. 182-38.
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      The but-for analysis in Skrmetti, 145 S. Ct. at 1834, thus does not apply here
where the Exclusions facially turn “sex reassignment” and “transgender” status.

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Skrmetti, such that Skrmetti does not control this case’s equal protection analysis.
       Finally, while it is true the Rule—not SB254—references “gender dysphoria”
FAC 59G-1.050(7)(a), that does not take away the fact that the Rule was purposely
and expressly adopted because of its impact on transgender people and to target sex
reassignment. Doc. 246, at 37–38. In any event, classifications can be
simultaneously based on multiple grounds; that does not insulate them from liability
when one of the bases is prohibited. See, e.g., Craig v. Boren, 429 U.S. 190, 197
(1976) (applying heightened scrutiny to sex classification even though it only
affected men between the ages of 18 and 20).
       As a result, Heightened scrutiny applies for the reasons explained here and in
Plaintiffs’ Response Brief, even under Skrmetti.
   B. Even if the Court finds the Exclusions do not facially discriminate based
      on transgender status or sex, the Exclusions’ “medical use” classification
      is a pretext for discrimination against transgender people.
       Even if this Court concludes the Exclusions do not facially classify based on
transgender status and sex, there can be little doubt the Exclusions are “mere pretext
for invidious sex discrimination.” Skrmetti, 145 S. Ct. at 1833; see also Eknes-
Tucker v. Governor of Alabama, 80 F.4th 1205, 1229–30 (11th Cir. 2023). The
plaintiffs in Skrmetti did not argue pretext. 145 S. Ct. at 1833. Here, Plaintiffs have
(see Plaintiffs’ Br. 41–51), and the evidence at trial demonstrated the Exclusions are
pretext for invidious discrimination against transgender people. Indeed, both the
Rule and SB254 were adopted with the goal of having “transgender health care”
“effectively banned.” Docs. 182-35, 182-36.
       As noted in Plaintiffs’ Response Brief (at 41–42), that the Exclusions prohibit
coverage for adults and minors alike even though the State’s justifications solely
concern minors bolsters a finding of pretext. See Washington v. Davis, 426 U.S. 229,
242 (1976) (intentional discrimination may be adduced from the “totality of the
relevant facts”). That the Exclusions exclusively impact transgender Medicaid
beneficiaries, regardless of medical necessity or age, and no one else similarly
supports pretext. See Doe v. Horne, 115 F.4th 1083, 1103 (9th Cir. 2024) (“[T]he
Supreme Court has long recognized that a policy’s discriminatory impact may support
a finding of discriminatory purpose.”).
   C. The Exclusions invidiously discriminate against transgender people.
      As previously noted, Skrmetti reaffirmed that “where a law’s classifications
are neither covertly nor overtly based on sex,” it is still subject to “heightened
review” if “it was motivated by an invidious discriminatory purpose.” 145 S. Ct. at
1832. Plaintiffs have provided ample evidence that the Exclusions are motivated by


                                          4
animus. See Plaintiffs’ Br. 12–14, 32–38. This alone is sufficient to subject the
Exclusions to heightened scrutiny, which, as Plaintiffs have argued, the Exclusions
cannot survive. See Plaintiffs’ Br. 42–49.
   D. Skrmetti’s reasoning does not apply to Plaintiffs’ Section 1557 claim.
      Finally, context matters. Plaintiffs’ Section 1557 claim is a statutory
discrimination claim, not a constitutional equal protection claim. Foundational to
Skrmetti was the legal fiction in Geduldig that a medical condition (pregnancy)
cannot be a proxy for sex (women) under constitutional equal protection. Congress
expressly rejected this fiction in the statutory context. Thus, neither the reasoning of
Skrmetti nor the Fourteenth Amendment’s limitations apply here.
       It is important to keep in mind that the Constitution sets a floor, not a ceiling,
for the protection of individuals’ rights. Cf. Van Wyhe v. Reisch, 581 F.3d 639, 651
(8th Cir. 2009) (“RLUIPA appropriately views the constitutional standard as a floor,
not a ceiling, and provides additional statutory protection[.]”); Mayweathers v.
Newland, 314 F.3d 1062, 1070 (9th Cir. 2002) (same). Importing Skrmetti’s
reasoning to the statutory context would undermine the ACA’s purpose and
protections, which prohibits benefit design discrimination—discrimination that
occurs when an insurer designs a health plan to exclude medical diagnoses or
procedures required by or associated with a protected class. See, e.g., Schmitt v.
Kaiser Found. Health Plan of Wash., 965 F.3d 945, 949, 958 (9th Cir. 2020).
       Skrmetti was focused on “reconcil[ing] the principle of equal protection with
the reality of legislative classification,” noting that courts afford “wide latitude” to
a legislative classification, subject to only “rational basis” review unless the
classification was afforded a “heightened” level of scrutiny. 145 S.Ct. at 1828. In
Skrmetti, based on Geduldig, the Supreme Court concluded that Tennessee’s law
classified only based on age and medical use, not sex or transgender status.
       But Geduldig’s reasoning (and therefore Skrmetti’s) does not apply in the
statutory context. To the contrary, Congress passed legislation that reflects that
classifications based on medical use can constitute sex discrimination. Following the
Supreme Court’s decision in General Elec. Co. v. Gilbert, 429 U.S. 125 (1976),
relying on Geduldig’s reasoning into Title VII, Congress swiftly amended Title VII
to “unambiguously” reject “the holding and the reasoning” of Gilbert and Geduldig.
Newport News Shipbuilding & Dry Dock Co. v. E.E.O.C., 462 U.S. 669, 678 (1983);
see 42 U.S.C. §2000e(k); H.R. Rep. 95-948, 1978 U.S.C.C.A.N. 4749. And since
their first formulation, Title IX’s regulations relating to sex discrimination have
likewise expressly rejected Geduldig and Gilbert. See 45 Fed. Reg. 30,903, 35,959,




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35,962-63 (May 9, 1980).4 Congress intended for nondiscrimination statutes to
prohibit the use of medical classifications as a proxy for sex discrimination.
       When Congress enacted Section 1557, it intended to protect enrollees from
discrimination based on their health status and the medical services used. See, e.g.,
42 U.S.C. §§ 300gg-3(b)(1), 300gg-4, 18022(4), 18116(a). The ACA thus abolished
the ability of insurers to discriminate based on health conditions. Schmitt, 965 F.3d
at 948 “Prior to the ACA’s enactment, an insurer could generally design plans to
offer or exclude benefits as it saw fit without violating federal antidiscrimination
law…” Schmitt, 965 F.3d at 948, post ACA, health insurers have “an affirmative
obligation not to discriminate in the provision of health care” and must “not design
plan benefits in ways that discriminate.” Id. at 955 (emphasis added). Section 1557
codifies a statutory commitment to eliminate facial and functional discrimination in
health coverage—exactly the sort at issue here: benefit design discrimination that
targets people based on a protected characteristic. Skrmetti does not undo this
statutory command.
    2. What impact, if any, does Medina v. Planned Parenthood South Atlantic,
       No. 23-1275, 2025 WL 1758505 (Jun. 26, 2025), have on whether the
       provisions of the Medicaid Act at issue in this case confer individual
       rights enforceable under 42 U.S.C. § 1983?
       Whether the specific Medicaid Act provisions at issue in this case are
enforceable under § 1983 is a question arising from whether a plaintiff has stated a
claim upon which relief can be granted pursuant to Fed. R. Civ. P. 12(b)(6). The
absence of a valid claim for relief does not implicate subject matter jurisdiction.
Therefore, Defendants needed to raise the enforceability argument in their initial
brief. They did not. Nor did they raise it in their reply brief or at oral argument.
Defendants have therefore abandoned the argument. Even if the Court finds the
abandonment was unwitting (it was not), there are no extraordinary circumstances
here to overcome that error.
    A. Defendants abandoned any argument regarding the enforceability of the
       Medicaid Act provisions at issue in this case, and none of the exceptions
       that would permit consideration of the argument apply.


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       “[T]he legislative history of Title IX ‘strongly suggests that Congress meant for
similar substantive standards to apply under Title IX as had been developed under
Title VII.’” Emeldi v. Univ. of Oregon, 698 F.3d 715, 724 (9th Cir. 2012) (quoting
Lipsett v. Univ. of P.R., 864 F.2d 881, 897 (1st Cir. 1988), and citing H.R. Rep. No.
92–554, at 46 (1972)).

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       Generally, an argument not briefed before the appellate court “is deemed
abandoned and its merits will not be addressed.” Access Now, Inc. v. Sw. Airlines
Co., 385 F.3d 1324, 1330 (11th Cir. 2004); see U.S. v. Levy, 379 F.3d 1241, 1242-
43 (11th Cir. 2004) (collecting cases). Abandonment applies even where an
intervening Supreme Court decision affects the parties’ arguments, so long as that
decision does not overrule precedent and thereby generate new theories or claims a
party could not have previously raised. See U.S. v. Durham, 795 F.3d 1329, 1330-
31 (11th Cir. 2015). While there are exceptions to this rule, none apply here.
      To be sure, courts can address a jurisdictional defect, sua sponte, even if the
party has abandoned it. U.S. v. Campbell, 26 F.4th 860, 872, n.6 (11th Cir. 2022).
However, whether a provision is enforceable under § 1983 “go[es] to the merits …
not the district court’s jurisdiction.” Angela R. v. Clinton, 999 F.2d 320, 324 (8th
Cir. 1993) (declining to address whether certain statutory provisions were
enforceable, despite an intervening Supreme Court decision finding a similar
provision was unenforceable, because the matter was not jurisdictional); see
Rodriguez v. DeBuono, 174 F.3d 227, 233 (2d Cir. 1999) (determining whether a
Medicaid Act provision gives rise to an “enforceable private right of action … does
not implicate jurisdiction”).
       Because the enforcement question does not implicate jurisdiction, it can be
waived. Indeed, courts do not generally hear arguments that have been intentionally
waived. Campbell, 26 F.4th at 872-73. Waiver occurs when a party makes a
purposeful choice to omit an argument from an initial brief. U.S. v. Garcia-
Velazquez, No. 22-10456, 2022 WL 2784601 at *5 (11th Cir. July 15, 2022) (if
waived, the issue cannot be raised sua sponte even under extraordinary
circumstances); Wood v. Milyard, 566 U.S. 463, 474 (2012) (a party who
intentionally relinquishes or omits a known right in argument waives the opportunity
for the court to address it); Campbell, 26 F.4th at 872 (“[I]f a party affirmatively and
intentionally relinquishes an issue, then courts must respect that decision.”).
      Plaintiffs recognize that, under “extraordinary circumstances,” courts can
consider arguments that have been unintentionally abandoned but such extraordinary
circumstances do not exist here. See Campbell, 26 F.4th at 875 (circumstances must
be “extraordinary enough” for the courts to exercise their discretion and excuse a
party’s unwitting abandonment).
       Specifically, unintentional abandonment of an argument is treated as
forfeiture, and the court may consider the argument only if the abandoning party can
show one of the following: (1) if the issue is purely a legal question and not
considering it would result in a “miscarriage of justice,” (2) there was no opportunity
to raise the argument in the district court, (3) “substantial justice” is involved, (4)


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proper resolution is “beyond any doubt,” or (5) the issue presents a question of
“general impact” or “great public concern.” Campbell, 26 F.4th at 872-73 (citing
Access Now, 385 F.3d at 1332). Importantly, even where one of these circumstances
is met, the issue must still be one of an “extraordinary” nature. Campbell, 26 F.4th
at 875. (“In most cases, an issue abandoned on appeal should be dismissed without
reaching the merits.”) (emphasis added).
       Here, Defendants waived any argument on appeal that the Medicaid Act
provisions at issue in this case are unenforceable, as the record demonstrates that
they consciously omitted the argument on appeal.5 Defendants were well aware of
the enforceability argument – they raised it on summary judgment, Doc. 120, at 28-
30, in their trial brief, Doc. 195, at 1, and again during their trial closing argument.
Tr. 1389:15-1390:8. Notably, during closing, counsel for Defendants stated that their
appellate legal strategy would depend on a forthcoming Supreme Court decision
addressing whether Spending Clause statutes can be enforced under § 1983. Tr.
1390:2-8. That decision, Health and Hospital Corp. of Marion County v. Talevski,
599 U.S. 166 (2023), reaffirmed the Court’s test for private enforcement under §
1983 and found the particular provisions at issue enforceable.6 Despite their
knowledge, Defendants omitted any mention of enforceability on appeal.
       Further, on reply, Defendants did raise enforceability as to 42 U.S.C. § 1396r-
8, a provision Plaintiffs never sought to enforce. Doc. 102, at 38-39. That Defendants
raised enforceability of a Medicaid Act provision (but not one Plaintiffs sought to
enforce) is further evidence Defendants knew of the argument and chose to abandon
it. Based on this evidence, Defendants’ waiver was intentional, and the Court should
not address the enforcement argument further. See Garcia-Velazquez, 2022 WL
2784601 at *5; Campbell, 26 F.4th at 871; Wood, 566 U.S. 463, 474.
        Assuming arguendo Defendants’ abandonment was unwitting, none of the
exceptions articulated in Access Now are present here. See 385 F.3d at 1332. As to
the first exception, while enforceability of a specific provision of the Medicaid Act
is an issue of law, failure to consider it would not result in a “miscarriage of justice.”
Id. Defendants had ample opportunity to raise and brief the matter. See Burch v. P.J.

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       The record here is not like that in Campbell. Here, the record clearly
establishes that Defendants considered but then rejected raising an argument about
enforceability on appeal. Tr. 1390:2-8. The Court can therefore find Defendants
waived the enforceability argument without participating in the kind of evidentiary
hearing the Court cautioned against in Campbell. See 26 F.4th at 875-877.
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       As Defendants’ counsel noted during his closing, Talevski was argued on
November 8, 2022 and remained pending at the time of trial. The case was decided
on June 8, 2023, almost four months before Defendants’ initial brief was due.

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Cheese, Inc., 861 F.3d 1338, 1352 (11th Cir. 2017) (because the abandoning party
had “ample opportunity” to raise the argument, refusal to entertain it would not result
in a miscarriage of justice). Months before Defendants’ brief was due, the Supreme
Court reaffirmed the 20-year-old test for determining enforceability of Medicaid Act
provisions under § 1983. See Talevski, 559 U.S. at 183 (reaffirming Gonzaga v. Doe,
536 U.S. 273 (2002) which sets forth that enforcement test); see also Medina, 2025
WL 1758505 at *10 (reaffirming that Gonzaga sets forth the enforcement test).
Because Defendants were well aware and had ample opportunity to raise the
applicability of the Gonzaga test on appeal, their failure to do so cannot be
characterized as a miscarriage of justice, particularly one of an extraordinary nature.
Burch, 861 F.3d at 1352.
       Because Defendants raised the enforceability argument with the district court,
the second exception is also not applicable.
       The third exception “is generally equated with the vindication of fundamental
constitutional rights.” In re Daikin Miami Overseas, Inc., 868 F.2d 1201, 1207 (11th
Cir. 1989). Defendants’ circumstances do not meet this exception because the ability
to pursue a failure to state a claim defense on appeal does not implicate any
fundamental constitutional rights of the State.
       As to the fourth exception, proper resolution in Defendants’ favor is not
“beyond any doubt.” The Medina decision did not concern the provisions at issue in
this case.7 Applying the Gonzaga test (reaffirmed in Talevski and Medina), other
circuits have consistently found these provisions are enforceable.8 See Access Now,
385 F.3d at 1334 (because the question was not easy, its resolution was not beyond
any doubt).


7
      Plaintiffs asserted claims under the EPSDT provisions (42 U.S.C. §§
1396a(a)(10)(A), 1396d(a)(4)(B), 1396d(r)(5), and 1396a(a)(43)(C)) and the
comparability provision (42 U.S.C. § 1396a(a)(10)(B) of the Medicaid Act. See Doc.
231-1, at ¶¶ 286-91. The plaintiffs in Medina sought to enforce the free choice of
provider provision, 42 U.S.C. § 1396a(a)(23).
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      Both the Sixth and Second Circuits have held the comparability provision
confers a private right of action enforceable under § 1983. See Waskul v. Washtenaw
Co. Cmty. Mental Health, 979 F.3d 426 (6th Cir. 2020); see also Davis v. Shah, 821
F.3d 231 (2d Cir. 2016). Every federal appellate court to have considered whether
the EPSDT provisions are enforceable through § 1983 has concluded they are. See
S.D. ex rel. Dickson v. Hood, 391 F.3d 581, 602-07 (5th Cir. 2004); Pediatric
Specialty Care, Inc. v. Ark. Dep’t of Human Servs., 293 F.3d 472, 477-79 (8th Cir.
2002); Miller v. Whitburn, 10 F.3d 1315, 1319-20 (7th Cir. 1993).

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       The fifth exception is inapplicable because it is generally reserved for cases
regarding a policy with national application, as opposed to the state policy at issue
here. See In re Biscayne Park, Lmtd. Liab. Corp., 540 Fed. Appx. 952, 958 (11th
Cir. 2013) (citing Dean Witter Reynolds, Inc. v. Fernandez, 741 F.2d 355, 360-61
(11th Cir. 1984)). Accordingly, Defendants have abandoned the argument of
enforceability as to the Medicaid Act provisions present in this case, and no
extraordinary grounds exist to resurrect the argument.
       Finally, the judicial precedents discussed here protect the principle of party
presentation which “serves vital interests.” Kellner v. NCL (Bahamas), Ltd., 753
Fed. Appx. 662, 666 (11th Cir. 2018) (cleaned up). They promote the adversarial
system by situating the right to frame the issues on appeal with the parties. Id. (citing
Access Now, 385 F.3d at 1330); see also Campbell, 26 F.4th at 872 (“Under the party
presentation principle … ‘we rely on the parties to frame the issues … and assign to
courts the role of neutral arbiter of matters the parties present.’”) (citation omitted).
The principle also protects the right of the opposing party “to analyze and respond
to her adversary’s contentions.” Kellner, 753 Fed. Appx. at 666 (citing Hamilton v.
Southland Christian School, Inc., 680 F.3d 1316, overruled on other grounds, 795
F.3d. 1329 (11th Cir. 2015)).
       This Court should find that Defendants abandoned the argument and it
therefore should not be addressed. If, however, the Court disagrees, Plaintiffs
respectfully ask for the opportunity to fully address the matter, including being given
leave to respond to the opposition’s arguments and to be heard at oral argument.
                                      Conclusion
      It is not—and cannot be—the law that transgender people are strangers to our
Constitution’s protections against invidious governmental discrimination. Skrmetti
does not bless nor give license to such discrimination. To the contrary, the
Fourteenth Amendment protects persons from governmental enactments, like the
Exclusions, that facially discriminate based on transgender status and/or are
“designed to effect an invidious discrimination against transgender individuals,”
Skrmetti, 145 S. Ct. at 1833. Furthermore, Skrmetti does not impact Plaintiffs’ Section
1557 claim, as its reasoning does not carry over to the statutory context.
       Additionally, Defendants made the strategic decision not to raise enforceability
of the Medicaid Act provisions in this case on appeal. As such, the argument has been
abandoned without exception. If, however, the Court takes up the matter regardless of
Defendants’ purposeful decision, Plaintiffs should have the opportunity to fully
respond to Defendants’ arguments and additionally request oral argument on the
matter.
      For the foregoing reasons, the district court’s judgment should be affirmed.

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     Dated this 11th day of July 2025.

                                          Respectfully submitted,

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                                         11
                      CERTIFICATE OF COMPLIANCE

       This brief complies with the page limitation set forth in the Court’s June 30,
2025 Order, as this brief does not exceed ten (10) single-spaced pages, excluding the
parts of the brief exempted by Federal Rule of Appellate Procedure 32(f).

       This brief complies with the typeface and type-style requirements of Federal
Rules of Appellate Procedure 32(a)(5)-(6) because it was prepared in a
proportionally spaced typeface using Microsoft Word in Times New Roman font
size 14.

                                              /s/ Omar Gonzalez-Pagan
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                                         12
                         CERTIFICATE OF SERVICE

      I hereby certify that on July 11, 2025, I filed a true and correct copy of the
foregoing with the Clerk of the United States Court of Appeals for the Eleventh
Circuit by using the appellate case filing CM/ECF system. Participants in the case
are registered CM/ECF users, and service will be accomplished by the appellate
CM/ECF system.

                                             /s/ Omar Gonzalez-Pagan
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                                        13
